                                        Certificate Number: 15317-AZ-DE-032162843
                                        Bankruptcy Case Number: 18-15054


                                                      15317-AZ-DE-032162843




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 15, 2019, at 2:40 o'clock PM PST, Sean H Cannoles
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. § 111 to
provide an instructional course concerning personal financial management in the
District of Arizona.




Date:   January 15, 2019                By:      /s/Jonald Gutierrez


                                        Name: Jonald Gutierrez


                                        Title:   Counselor




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